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Medical Records and Confidentiality of Medical
Information
    In the regular course of business, Health and Medical Services maintains confidential medical records for post-offer
applicants and employees in accordance with applicable federal and state laws. Copies of documentation existing in those
files are not released to anyone outside Health and Medical Services, except in the following instances:

խ When an employee submits a written request to Health and Medical Services which includes his/her name, employee ID,
  specific documents required, address where the records may be mailed, and the employee’s signature.
խ When Health and Medical Services receives a release of medical information form signed by the employee stating that the
  employee has agreed the holder of the release may receive specific documentation contained in the employee’s
  confidential Health and Medical Services medical file.
խ When Health and Medical Services receives a subpoena or other court order instructing the release of specific records.
խ When relevant documents from an employee’s confidential Health and Medical Services medical record are required in
  order to prepare an appropriate defense of Union Pacific or any of its personnel.
խ When necessary to evaluate an employee’s claim relating to a personal injury or illness if the employee is represented by
  legal counsel.
խ When necessary to provide medical information to an external medical practitioner performing an evaluation at Health and
  Medical Service’s request.

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Roles and Responsibilities
   The responsibilities of Health and Medical Services, Employees and Post-Offer Applicants with regard to the Medical Rules
are outlined below.

Health and Medical Services
   Health and Medical Services (HMS) is responsible for establishing the scope, content, frequency, and delivery of medical
evaluations. HMS is the final authority for determining an employee’s Fitness-for-Duty designation. HMS will respond to
supervisor concerns regarding an employee’s ability to safely perform duties. HMS may delegate responsibilities to medical
professionals not employed by Union Pacific. Delegated responsibilities may include but are not limited to the following:

խ Performance of medical tests and evaluations; and/or
խ Determination of medical status, and/or
խ Determination of functional level

Employees
   All employees are responsible for:

խ Reporting to work fit for duty to safely perform their jobs with or without reasonable accommodations
խ Notifying the supervisor when the employee becomes aware of or is concerned that a medical condition or symptom(s)
  exists which may affect his/her ability to safely perform his/her job
խ Undergoing a Fitness-for-Duty evaluation, including all medical tests, examinations, and evaluations deemed necessary by
  various governmental agencies and HMS
խ Providing, upon request, information from the employees health care provider including, but not limited to: medical
  documentation pertaining to medical tests, examinations, and/or evaluations, including lists of all prescription and over-the-
  counter medications taken by the employee. Employee may be required to provide information on a periodic basis for
  monitoring of continued fitness-for-duty.
խ Providing, upon request, a statement from the employee's healthcare provider whether or not, or in what circumstances,
  any prescriptions or OTC medications currently taken by the employee is likely to impair the employee’s perceptual abilities
  or alertness, or impair mental or physical functioning
խ Performing all work in conformance with any medical restrictions that HMS has placed upon the employee
խ Meeting the requirements, in a timely manner, of all federal and state laws and regulations applicable to the employee with
  regard to medical evaluations and testing and the use of personal protective equipment
խ Providing accurate information to Health and Medical Services regaring health status and medical treatment

  Dispatchers and Operating Department field employees (including all Transportation, Engineering Services, and
Mechanical employees - agreement and nonagreement), all Telecom employees (agreement and nonagreement) and
Supply Department Field employees (agreement and nonagreement) must also:

խ Notify HMS as soon as practicable if he/she experiences any of the health events listed in Appendix B of these Medical
  Rules. A reportable health event is defined as a new diagnosis, recent event or change in a prior stable condition, for one of
  the following (See Appendix B for more detail): a) Cardiovascular Conditions b) Seizure or Loss of Consciousness c)
  Significant Vision or Hearing Changes d) Diabetes Treated with Insulin e) Severe Sleep Apnea
խ The employee should simultaneously notify his/her supervisor that he/she has experienced a health event, as defined in
  Appendix B, that requires a Fitness-for-Duty evaluation by Health and Medical Services prior to performing his/her job.
խ If the employee experiences a health event noted in Appendix B, the employee should not report for, or perform, his/her job
  until Fitness-for-Duty clearance has been provided for such work by HMS

Post-Offer Applicants
   Post-offer Applicants are responsible for:



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խ Undergoing a Fitness-for-Duty evaluation, including all medical tests, examinations, and evaluations deemed necessary by
  various governmental agencies and HMS to determine if the applicant is fit for duty. The Pre-Placement Medical Evaluation
  and an appropriate Physical Ability Test may be performed after a conditional job offer has been made and before the
  applicant reports to work
խ Some costs associated with additional medical testing and evaluations deemed necessary by HMS to determine medical
  fitness
խ Providing accurate information to HMS regarding health status and medical treatment

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Health and Medical Services Fitness-for-Duty Decisions
  After a Fitness-for-Duty evaluation is complete, Health and Medical Services determines if the employee/applicant is
medically and functionally able to safely perform his/her job and makes the following designations:

խ Fit for Duty
խ Fit for Duty - With Restrictions

   1. A medical work restriction assigned by Health and Medical Services, may include a requirement that the
      applicant/employee agree to ongoing monitoring of a specific health condition, with ongoing reporting of such information
      to Health and Medical Services. The treatment for the specific health condition is conducted by the employee's health
      care provider.
   2. Union Pacific determines whether work restrictions can or cannot be reasonably accommodated.

խ Not Fit for Duty

   Health and Medical Services will notify supervisors of the Fitness-for-Duty designation.

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Fitness-for-Duty Evaluations
  Union Pacific maintains the final authority for determining whether an employee is fit for duty. To determine Fitness-for-
Duty, employees may be required to participate in medical tests and evaluations.

   Evaluations completed by Health and Medical Services (HMS) may include, but are not limited to various components such
as: (1) regulatory medical certification requirements; (2) drug screen; (3) medical, psychological and/or functional evaluations,
(4) obtaining additional medical records for review by HMS, and (5) other information as deemed necessary by HMS.

   A Fitness-for-Duty evaluation may be initiated by HMS and/or a Supervisor. Employees requesting a Medical Leave may
also be required to complete a Fitness-for-Duty Evaluation prior to returning to work or in the event of a change in a
Reportable Health Event.

Health and Medical Services Initiated Fitness-for-Duty
   Regulatory Medical Evaluations

   Employees with designated job assignments may be required to have Regulatory Medical Evaluations, based on
requirements of federal and/or state government regulations.

  Applicable government regulations to be used by HMS as references in carrying out regulatory evaluations, may include,
but not be limited to, the following:

խ Federal Motor Carrier Safety Administration (FMCSA)
  Compliance with commercial motor vehicle licensing requirement
խ Federal Aviation Administration (FAA)
  Compliance with FAA Regulations for Pilots
խ Federal Railroad Administration (FRA)
  Compliance with medical certification requirements for Locomotive Engineers, Conductors, and Remote Control
  Locomotive Operators
  Compliance with other FRA medical requirement for covered employees
  Compliance with Hearing Conservation Program requirements for covered employees
խ Occupational Safety and Health Administration (OSHA)
  Compliance with regulations on worker exposure to potential workplace hazards
  Compliance with specific medical certification requirements, including but not limited to, hazardous materials workers and
  use of respirators and other personal protective equipment

   New medical regulatory requirements that come into effect, and apply to Union Pacific employees, will automatically be
included in these rules. HMS will apply applicable regulatory requirements regarding medical evaluations for employees. HMS
may use additional guidelines or other materials produced by government agencies, or other sources, as references in
carrying out regulatory evaluations. For certain jobs or tasks covered by regulatory medical requirements, HMS may utilize
medical Fitness-for-Duty requirements that are more rigorous or stringent than the minimal requirements of a regulation.

   Job Transfer

   An employee who transfers from an existing Union Pacific job assignment to a different job assignment outside of the
provisions of the collective barganining agreement will be evaluated for Fitness-for-Duty before beginning the new job if the
transfer is:

   1. To a Dispatcher position or an Operating Department field position (including all Transportation, Engineering Services,
      and Mechanical position - agreement and nonagreement), and/or
   2. To a position requiring regulatory certification, and/or
   3. To other selected positions, where it is determined that a Job Transfer Evaluation is needed, based on physical and
      functional requirements of the job



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   Pre-placement (post offer) and Return to Work After 1-Year Absence

   All post-offer applicants will be required to participate in a Pre-Placement Evaluation after a conditional job offer is made,
and before the applicant begins work. All post-offer applicants will be subject to a drug screen and evaluations deemed
appropriate by HMS. In addition, some employees may also be subject to Regulatory Medical Evaluations based on
requirements of federal and/or state government regulations.

   An employee absent from work for a period of 12 months or longer for any medical or non-medical reason, must undergo
the requirements of a pre-placement (post-offer) evaluation for the position before returning to work. Absences include, but are
not limited to:

  1.   On-Duty injury
  2.   Off-Duty injury or illness
  3.   Employee Assistance Program participation
  4.   Reserve Board assignment
  5.   Furlough
  6.   Personal leave
  7.   Military service

   Other

   Additional Fitness-for-Duty Evaluations are conducted whenever it is deemed necessary to determine an Employee’s
Fitness for Duty on a case-by-case basis.

Supervisor Initiated
  Supervisor’s have the ability to request a Fitness-for-Duty evaluation based on credible information which raises a concern
about the employee's ability to safely perform his/her job duties. The Supervisor may remove the employee from service
during the review period.

Employee Requested Medical Leave and Reporting Requirements
   Agreement Employees

   The purpose of the Medical Leave Evaluation is to determine the medical appropriateness of an employee's requested
leave, due to a medical condition of the employee and ensuring the employee is medically and functionally able to perform
his/her job.

խ Pursuant to Union Pacific policies, an employee must provide adequate medical documentation to verify the need for a
  medical leave:
  խ Leaves less than 30 days can be approved by the appropriate supervisor without Health and Medical Services review.
  խ Leaves requested for 30 days or more or a leave which becomes extended beyond 30 days, shall be referred to Health
    and Medical Services for review prior to approval by supervisor.

խ Family Medical Leave Act (FMLA): See the Family Medical Leave Act (FMLA) policy on the Employees site for FMLA
  associated absences also processed by Health and Medical Services.
խ Additional requirements for agreement Telecom employees, Supply Department field employees, and Operating
  Department field employees (including all Transportation, Engineering Services and Mechanical employees)
  խ All agreement Telecom employees, Supply Department field Employees, and Operating Department field employees
     (including Transportation, Engineering Services, and Mechanical employees) must report the following reportable
     health events to Health and Medical Services so that a Fitness-for-Duty evaluation can be completed whether or not a
     medical leave is requested (See Appendix B for more detail):
    խ Cardiovascular Conditions
    խ Seizure or Loss of Consciousness
    խ Significant Vision or Hearing Changes
    խ Diabetes Treated with Insulin
    խ Severe Sleep Apnea




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  խ If an agreement Telecom employee, Supply Department field employee or Operating Department field employee
    (including all Transportation, Engineering Services, and Mechanical employees) has a reportable health event, at work
    or off work, the employee must:
    խ Stay off work (not report to work or mark up for duty) until Health and Medical Services has completed a Fitness-for-
        Duty evaluation for the reportable health event and has provided the employee's supervisor with notification that the
        employee is fit for duty and able to return to his/her job.
    խ Notify his/her Supervisor that he/she has had a reportable health event that requires Health and Medical Services
        to complete a Fitness-for-Duty evaluation prior to employee returning to his/her job.
    խ Notify Health and Medical Services that he/she has had a reportable health event that requires a Fitness-for-Duty
        evaluation prior to employee returning to his/her job.

   Nonagreement Employees

   All Nonagreement Employees requiring a medical absence should:

խ See the Short-Term/Long-Term Disability (STD/LTD) policy for Nonagreement for health related absences.
խ Additional Requirements for nonagreement Telecom employees, nonagreement Supply Department field
  employees, and Dispatchers and nonagreement Operating Department field employees (including all Transportation,
  Engineering Services, and Mechanical)
  խ All nonagreement Telecom employees, nonagreement Supply Department field employees and Dispatchers and
    nonagreement Operating Department field employees (including all Transportation, Enginnering Services, and
    Mechanical) must report the following reportable health events to Health and Medical Services so that a Fitness-for-Duty
    evaluation can be completed whether or not a Short Term Disability or other medical leave is requested (See Appendix
    B for more detail):
    խ Cardiovascular Conditions
    խ Seizure or Loss of Consciousness
    խ Significant Vision or Hearing Changes
    խ Diabetes Treated with Insulin
    խ Severe Sleep Apnea

  խ     If nonagreement Telecom employees, nonagreement Supply Department field employees, Dispatchers and
      nonagreement Operating Department field employees (including all Transportation, Engineering Services, and
      Mechanical) have a reportable health event, at work or off work, the employee must:

      խ Stay off work (not report to work or mark up for duty) until Health and Medical Services has completed a Fitness-for-
        Duty evaluation for the reportable health event and has provided the employee's supervisor with notification that the
        employee is fit for duty and able to return to work.
      խ Notify his/her Supervisor that he/she has had a reportable health event that requires Health and Medical Services
        to complete a Fitness-for-Duty evaluation prior to employee returning to his/her job.
      խ Notify Health and Medical Services that he/she has had a reportable health event that requires a Fitness-for-Duty
        evaluation prior to employee returning to his/her job.

խ Family Medical Leave Act (FMLA): See the Family Medical Leave Act (FMLA) policy for FMLA associated absences also
  processed by Health and Medical Services.

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Dispute Resolution
   If Health and Medical Services and the employee's treating medical practitioner disagree on the employee's current medical
diagnosis, then the employee may appeal in accordance with applicable collective bargaining agreement(s).

խ In such an instance, the employee must provide documentation from his/her treating medical practitioner stating the
  medical justification and procedure(s) used to make the diagnosis.
խ Upon the Company's receipt of the appropriate medical release authorizing discussion of the employee's medical
  conditions or case with the appropriate labor union representative and Union Pacific Labor Relations Department
  representative, the labor union representative, or his designee, may discuss representative(s). If circumstances warrant,
  Health and Medical Services may request re-evaluation of the employee's case.
խ Health and Medical Services is the final authority for determining an employee's Fitness-for-Duty designation.
խ The table below outlines specific circumstances and associated process steps for when there is a disagreement regarding
  an employee's diagnosis:

                       IF…                                                        THEN …
   Re-evaluation by a medical practitioner,        Health and Medical Services issues a Fitness for Duty decision
   selected by Health and Medical                  and the supervisor confirms if reasonable accommodation is
   Services indicates the employee's               possible (if applicable).
   medical diagnosis is consistent with the
   Health and Medical Service's decision.
   Re-evaluation by a medical practitioner,        Health and Medical Services completes a new medical review and
   selected by Health and Medical Services,        issues an updated Fitness-for-Duty statement and advises the
   indicates the employee's medical                supervisor. The supervisor then notifies the employee.
   diagnosis is NOT consistent with the
   Health and Medical Service's decision.
   The employee or union representative            The supervisor notifies the appropriate Union Pacific Labor
   notifies the supervisor that he/she is not      Relations representative. Labor Relations will then arrange a joint
   satisfied with re-evaluation results.           conference between the employee's union representative,
                                                   appropriate treating medical practitioner and Health and Medical
                                                   Services. (The employee may also be requested to participate if
                                                   requested by Health and Medical Services.)
   Consensus is reached at a joint                 Health and Medical Services issues an updated Fitness for Duty
   conference between the employee, union          statement to the supervisor, and the supervisor
   representative, employee's appropriate          confirms whether reasonable accommodation is possible when
   treating medical practitioner and Health        work restrictions are applicable.
   and Medical Services representative
   regarding employee's current diagnosis.



Request to Establish Medical Boards
խ If consensus is not reached during the joint conference, the employee's union representative may present a request to the
  appropriate Union Pacific Railroad Labor Relations representative, asking to establish a special medical board in
  accordance with applicable collective bargaining agreement(s), if any. In general, unless specific collective bargaining
  agreement provisions require otherwise, a special medical board review is conducted in the following manner:
խ Each physician selected to participate in the special medical board review must: 1) hold a Doctor of Medicine or Doctor of
  Osteopathic Medicine degree from an accredited medical school; 2) has practiced medicine for at least five years; and 3) is
  licensed by a State(s) to practice medicine.



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խ Three physicians are chosen, one each by: 1) Union Pacific Railroad; 2) the Union/Employee; and by 3) joint Union Pacific
  Railroad and Union/Employee agreement.
խ A written document is prepared describing the appointment of a special medical board, timeframes for conducting the
  medical board hearing, limitation of evidentiary record to medical records/history of the involved employee and acceptance
  of its decision as it pertains specifically to the employee's medical diagnosis as binding, is signed by the employee, the
  employee's union representative, and the appropriate Union Pacific Railroad official(s).
խ The employee reports for the scheduled medical evaluation(s).
խ Within 15 days after evaluation of the employee, the special medical board issues a joint report of finding(s) and decision.
  One copy of the report is provided to: 1) the Union Pacific Railroad Health and Medical Services Department; 2) the
  employee's union representative, and 3) the employee.
խ Once the special medical board makes a finding regarding employee's medical diagnosis, Health and Medical Services will
  issue an updated Fitness for Duty statement and upon issuance of such statement, the special medical board will
  automatically terminate. Health and Medical Services is the final authority in determining an employee's Fitness for Duty
  designation.
խ All claims for lost time will be handled in accordance with the employee's applicable Collective Bargaining Agreement
  provisions.
խ Union Pacific pays for the cost and expenses of its medical representative on the medical board; the union or employee
  pays for the cost and expenses of its medical representative on the medical board and each party (Union Pacific and
  Union/Employee) pays 50% of the cost and expenses of the 3rd medical representative on the board.

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Appendix A: Definitions
   The following definitions apply to the Medical Rules:

խ EMPLOYEE – Individual employed by Union Pacific Railroad.
խ FITNESS FOR DUTY – Ability to medically and functionally (including physical, mental, and or cognitive function) safely
  perform the functions of a job, with or without reasonable accommodations and meet medical standards established by
  regulatory agencies in accordance with federal and/or state laws.
խ HEALTH AND MEDICAL SERVICES (HMS) – Employees and contracted personnel who provide professional services
  and make decisions on behalf of Union Pacific’s Health and Medical Services.
խ POST-OFFER APPLICANT – Individual who has received a conditional offer of employment, and who is not currently
  working for Union Pacific. A post-offer applicant is required to undergo a Pre-Placement Medical Screening.
խ REASONABLE ACCOMODATIONS – As required by federal and state law, Union Pacific will make reasonable
  accommodations for persons with statutorily protected disabilities when this will permit the person to perform the essential
  functions of the job and does not impose an undue hardship on the company.
խ REPORTABLE HEALTH EVENT – Dispatchers and employees in Operating Department field positions (including all
  Transportation, Engineering Services, and Mechanical employees -agreement and nonagreement), Telecom employees
  (agreement and nonagreement), and Supply Department Field employees (agreement and nonagreement) must report to
  Health and Medical Services any new diagnosis, recent events, and/or change in the following conditions, cardiac, seizure
  or loss of consciousness, significant vision or hearing changes, diabetes treated with insulin, and/or severe sleep apnea.
  (See Appendix B for more information)
խ SUPERVISOR – Employee’s first-line supervisor and other supervisors in the employing department.

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Appendix B: Reportable Health Events
    The Union Pacific Medical Rules state that Dispatchers and employees in Operating Department field positions (including
all Transportation, Engineering Services, and Mechanical employees - agreement and nonagreement), Telecom employees
(agreement and nonagreement) and Supply Department field employees (agreement and nonagreement) must report the
health events to Health and Medical Services listed at the bottom of the page so that a Fitness-for-Duty evaluation can be
done to determine if the employee can safely perform his/her job. If an employee has a "Reportable Health Event", at work or
off work, then the employee must:

խ Stay off work (not to report to work or mark up for work) until Health and Medical Services has completed a Fitness-for-
  Duty evaluation for that particular health event, and has provided the employee's Supervisor with notification that the
  employee is fit for duty and able to return to his/her job.
խ Notify his/her Supervisor that he/she has had a Reportable Health Event that requires Health and Medical Services
  to complete a Fitness-for-Duty determination prior to the employee being able to work.
խ Notify Health and Medical Services that he/she has had a Reportable Health Event that requires Health and Medical
  Services to complete a Fitness-for-Duty evaluation.

    Reportable health event is defined as anew diagnosis, recent event, or change in a prior stable condition, for one of the
following:

   A. Cardiovascular Conditions including:

   1. Heart attack (myocardial infarction) that is confirmed or was suspected (including any Emergency Room or hospital care
      for chest pain or other symptoms of possible heart disease).
   2. Cardiac arrest, requiring cardio-pulmonary resuscitation (CPR) or use of a defibrillator.
   3. Serious cardiac arrhythmias (abnormal heart rhythm) requiring medical treatment.
   4. Stroke or Transient Ischemic Attack (TIA).
   5. Bleeding inside the skull (intracranial) or bleeding inside the brain (intracerebral)
   6. Heart surgery or invasive cardiovascular procedures (including coronary bypass graft, cardiac catheterization or
      angioplasty; or placement of a pacemaker, stent, internal cardiac defibrillator, heart valve or aortic artery graft).

   B. Seizure or Loss of Consciousness including:

   1.   A seizure of any kind.
   2.   Diagnosis of epilepsy (a condition with risk for recurrent seizures).
   3.   Treatment with anti-seizure medication to prevent seizures.
   4.   Loss of consciousness (of any duration including episode caused by insulin reaction).

   C. Significant Vision or Hearing Change including:

   1. Significant vision change in one or both eyes affecting visual acuity (if not correctable to 20/40), color vision or peripheral
      vision (including visual field loss from retinal disease or treatment).
   2. Eye surgery (including for glaucoma, cataracts, or laser treatment of the cornea or retina).
   3. Significant hearing loss or surgery on the inner ear.
   4. New use of hearing aids.

   D. Diabetes Treated with Insulin:

   1. Including Type I and Type II Diabetes Mellitus if insulin is used.
   2. Severe hypoglycemic event (defined as a hypoglycemic event with: (a) loss of consciousness, (b) substantial mental
      confusion, drowsiness, or weakness, or (c) requiring the assistance of another person).

   E. Severe Sleep Apnea:



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1. Diagnosis or treatment of severe obstructive sleep apnea (using CPAP or other treatments).

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                   ,VHQWWKHQRWHEHORZWRWKH))'1XUVH'&6DQG$0'DVDHPDLORQ
                   

                   5HJDUGLQJ0U-RH\:RRGXV(,'D7UDFNPDQ

                   6WDWXVRI
                   &DVH5HYLHZ

                   7KLV)LWQHVVIRU'XW\HYDOXDWLRQZDVLQLWLDWHGZKHQ0U
                   :RRGXVUHTXHVWHGWRUHWXUQWRZRUNDIWHUDHYHQWZKHQKHZDVRQD
                   ZRUNDVVLJQPHQWDQGZDVGLVFRYHUHGE\KLVFRZRUNHUVLQKRWHOURRPLQD
                   FRQIXVHGVKDNLQJDQGGLDSKRUHWLF+HZDVHYDOXDWHGLQWKHKRVSLWDO
                   (PHUJHQF\'HSDUWPHQW('DQGKDGILQGLQJVRIDOWHUHGPHQWDOVWDWXVDQG
                   DSKDVLDDQGGLVDUWKULDVOXUUHGVSHHFK$&7KHDGVFDQDWWKDWWLPHGLG
                   QRWVKRZHYLGHQFHRIDQ\DFXWHVWURNH+RZHYHUD05,%UDLQVFDQRQ
                   ZDVUHSRUWHGWRVKRZDQROGVWURNHLQDQLQIUDWHQWRULDOUHJLRQ
                   RIWKHEUDLQSRQWLQHDUHDDQGOHIWSHULYHQWULFXODUDUHDEXWQRDFXWH
                   VWURNH$QHFKRFDUGLRJUDPDQGHOHFWURHQFHSKDORJUDPGRQHZHUH
                   QRUPDO7KLVZDVFRQVLGHUHGDSRVVLEOH7,$RUXQH[SODLQHGORVVRI
                   FRQVFLRXVQHVV/2&HSLVRGHERWKRIWKHVHGLDJQRVLVZDVEHDQLQGLFDWLRQ
                   IRUDRQH\HDUZRUNUHVWULFWLRQIURPVXGGHQLQFDSDFLWDWLRQULVNV

                   2Q
                   'U&KDUERQQHDX$0'PDGHD))'GHWHUPLQDWLRQWKDW0U:RRGXV
V
                   HYHQWVKRXOGEHFRQVLGHUHGDQXQH[SODLQHG/2&HSLVRGHDQGKHZDV                      C
                   JLYHQZRUNUHVWULFWLRQVIRUVXGGHQLQFDSDFLWDWLRQULVNVWREHLQSODFHRQH                Charbonneau Aff.
                   \HDUDIWHUXQWLO0DUFKDWZKLFKWLPHWKHVHFRXOGEHUHDVVHVVHG
                   EDVHGRQWKHILQGLQJRIDQXSGDWHGQHXURORJLFDOHYDOXDWLRQ
                                                                                           DF_001726 [Woodus]
'DWH                                                                                                 3DJHRI
                   Case   4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 29 of 84
                   6LQFHWKHQ
                   0U:RRGXVKDGDUHFHQWQHXURORJ\HYDOXDWLRQE\'U'HUHN/HZLVRQ
                   :HUHFHLYHGWKHUHVXOWVRIWKLVH[DP'U/HZLVVDLGWKHUHZHUH
                   QRFXUUHQWQHXURORJLFDOV\PSWRPVRUDEQRUPDOH[DPILQGLQJV'U/HZLV
                   VDLGWKHUHPDLQHGXQH[SODLQHGDQGVDLG0U:RRGXVFRXOGUHWXUQ
                   WRZRUNKHDOVRVDLGFROGPHGLFLQHFRXOGKDYHFDXVHGWKHFRQIXVLRQ

                   ,Q
                   DGGLWLRQRQ+06UHFHLYHGUHFRUGVIURP0U:RRGXV
VPHGLFDO
                   HYDOXDWLRQLQ$SULODIWHUKHKDGDSUHVXPHGVWURNHZLWKV\PSWRPVRI
                   VOXUUHGVSHHFKIRUGD\V7KLVLQFOXGHGDEUDLQ05,WKDW
                   UHSRUWHGUHODWLYHO\DFXWHLQIDUFWVZLWKUHVWULFWHGGLIIXVLRQLQYROYLQJ
                   WKHZKLWHPDWWHULQWKHOHIWFHUHEUDOKHPLVSKHUH,QDGGLWLRQD
                   FHUHEUDODQJLRJUDPVKRZHGDQRFFXOVLRQRIWKHOHIWPLGGOH
                   FHUHEUDODUWHU\DQGWKHOHIWYHUWHEUDODUWHU\

                   $VVHVVPHQW

                   %DVHGRQWKH
                   EUDLQ05,DQGFHUHEUDODQJLRJUDPWKHUHLVHYLGHQFHKHKDGPXOWLSOH
                   VWURNHVLQYROYLQJWKHFRUWLFDODUHDVRIWKHOHIWKHPLVSKHUHWKLVZRXOG
                   EHFRQVLVWHQWZLWKKLVVOXUUHGVSHHFKIRUGD\V7KLVZRXOGUHTXLUHG
                   \HDUVRIVXGGHQLQFDSDFLWDWLRQZRUNUHVWULFWLRQVIURP$SULOWREH
                   LQSODFHXQWLO$SULO

                   +RZHYHU,ZLOOGHIHUDQ\ILQDO))'
                   GHWHUPLQDWLRQRQWKLVFDVHXQWLOZHJHWDPHGLFDOILOHUHYLHZE\'U5HHG
                   :LOVRQ

                   $FWLRQ

                   1RW))'

                   *HWPHGLFDOILOHUHYLHZE\'U5HHG
                   :LOVRQ

                   -RKQ3+ROODQG0'03+

   &DVH1XPEHU                   6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS            7LPH              30           &UHDWHGE\   
   &RPPHQW
                   'XSOLFDWHLQIRUU

   &DVH1XPEHU                   6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS            7LPH              30           &UHDWHGE\   
   &RPPHQW
                   GLFWDWHGQHXURFOLQLFQRWHUU

   &DVH1XPEHU                   6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS            7LPH              30           &UHDWHGE\   
   &RPPHQW
                   3OHDVHUHYLHZZLWK&02DQGDGYLVHUU

   &DVH1XPEHU                   6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS            7LPH              30           &UHDWHGE\   
   &RPPHQW
                   'U+ROODQGGLFWDWHGFOLQLFQRWHIURPQHXURORJ\YLVLWUHFHLYHGRQHH
                   3OHDVHUHYLHZDQGDGYLVHUHJDUGLQJ57:UU

   &DVH1XPEHU                   6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS             7LPH              30           &UHDWHGE\   
                                                                                              DF_001727 [Woodus]
'DWH                                                                                                 3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 30 of 84
   &RPPHQW
                   EUDLQ05,UHSRUW&7$UHSRUWUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       6HS             7LPH            30         &UHDWHGE\    
   &RPPHQW
                   3OHDVHUHYLHZZLWK&02DQGDGYLVHRQQH[WVWHSV5HTXHVWHGHHSURYLGH
                   GLFWDWHGFOLQLFQRWHVIURPHYDOZLWKQHXURORJ\UU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                                  57&WRHHWRUHOD\DGGLWLRQDOPHGLFDOGRFXPHQWDWLRQQHHGHG
                   WRFRPSOHWH))'UHYLHZ+06KDVPDLOHGOHWWHUWRHHRXWOLQLQJVSHFLILFV
                   5HYLHZHGLWZLWKWKHHHDVZHOO((YRLFHVXQGHUVWDQGLQJDQGZLOOFRQWDFW
                   +06LIKHKDVTXHVWLRQVUHJDUGLQJWKHOHWWHUUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   ))'OHWWHUPDLOHGWRHHUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   'U+ROODQG&DVHUHYLHZZLWK'&6((ZLWKDOWHUHGPHQWDOVWDWXVLQ
                   FOHDUHGWR57:ZLWKRQJRLQJZRUNUHVWULFWLRQVIRUPLQ\HDUGXHWR
                   DOWHUHGPHQWDOVWDWXV7,$YV&9$YVV\QFRSHYVDOWHUHGPHQWDOVWDWXV
                   ((KDVVXEPLWWHGPHGLFDOGRFXPHQWDWLRQIURPQHXURDQGUHTXHVWVUHYLHZIRU
                   SRWHQWLDO57:ZRUHVWULFWLRQ3HUYHUEDOGLUHFWLYHIURP'&6&02WR
                   UHYLHZIRUSRWHQWLDOUHPRYDORIUHVWULFWLRQV3OHDVHGLVFXVVZLWK'&6
                   UHYLHZDQGDGYLVHUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   7&WRHH1$90OHIWIRUHHWR57&WR+06WRGLVFXVV
                   PHGLFDOGRFXPHQWDWLRQQHHGHGWRFRPSOHWH))'UHYLHZUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   1HXURPHGLFDOUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   1HXURPHGLFDOUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH            30          &UHDWHGE\    
   &RPPHQW
                   52,IRUPVUU

   &DVH1XPEHU                  6HUYLFH1XPEHU            &DWHJRU\      $FWLYLW\
                                                                                           DF_001728 [Woodus]
'DWH                                                                                             3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 31 of 84
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   1HXURPHGLFDOUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   1HXURPHGLFDOUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   3&3PHGLFDOUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   'XQFDQ+RVSLWDOUHFRUGVUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   &DUGLRPHGLFDOUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   1HXURPHGLFDOUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   7UDFNPDQUHTXHVWLQJUHYLHZRIUHVWULFWLRQVIRU57:UU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30      &UHDWHGE\   
   &RPPHQW
                   57:UHOHDVHUU

   &DVH1XPEHU                 6HUYLFH1XPEHU          &DWHJRU\      $FWLYLW\
   &UHDWHGRQ       $XJ           7LPH              30     &UHDWHGE\   
   &RPPHQW
                   &DVHUHYLHZZLWK'&6((ZLWKDOWHUHGPHQWDOVWDWXVLQFOHDUHGWR
                   57:ZLWKRQJRLQJZRUNUHVWULFWLRQVIRUPLQ\HDUGXHWRSRWHQWLDO7,$YV
                   &9$YVV\QFRSHYVDOWHUHGPHQWDOVWDWH((KDVVXEPLWWHGPHGLFDO
                   GRFXPHQWDWLRQIURPQHXURDQGUHTXHVWVUHYLHZIRUSRWHQWLDO57:ZR
                   UHVWULFWLRQ)LOHUHYLHZUHTXHVWHGLQ5+&EXWQRWFRPSOHWHG'RHVWKLV
                   QHHGWREHGRQH"3HUYHUEDOFRQYHUVDWLRQZLWK'&6QRILOHUHYLHZQHHGHG
                   'RFXPHQWDWLRQVKRXOGEHVHQWWR'&6DQG&02IRUUHYLHZUU             DF_001729    [Woodus]
'DWH                                                                                              3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 32 of 84
   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0D\             7LPH               30            &UHDWHGE\   
   &RPPHQW
                   7&IURPHHZKRLQTXLUHVZKDWKHQHHGVWRSURYLGHWR+06IRUUHYLHZWRKDYH
                   KLVUHVWULFWLRQVUHPRYHG5HOD\HGWRHHKHZRXOGQHHGWRREWDLQD
                   FRPSUHKHQVLYHQHXURORJ\HYDOXDWLRQDQGVXEPLWWKHGRFXPHQWDWLRQWR+06
                   IURPWKDWHYDO7KHHYDOVKRXOGLQFOXGHGRFXPHQWDWLRQRIDQ\IXUWKHU
                   LQFLGHQWVRIQHXURORJLFHYHQWVVLQFH0DUFK/2&DOWHUDWLRQLQ
                   FRQVFLRXVQHVV7,$VWURNHHWF+06ID[SURYLGHGWRHH((YRLFHV
                   XQGHUVWDQGLQJUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $SU             7LPH               $0            &UHDWHGE\   
   &RPPHQW
                   <RXFDQFORVH\RXUVHUYLFHDQGFDVHHHGLGQRWUHVSRQGWR'300*

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       'HF             7LPH               30            &UHDWHGE\   
   &RPPHQW
                   'XSOLFDWH&'UHFHLYHGYLD86367KLV&'LVDJDLQWKH&7+HDG
                   IURP'XQFDQ5HJLRQDO5DGLRORJ\'HSW
                   1H&'RI05,UHFHLYHG\HW

                   (PDLOHG
                   XSGDWHWR))'6RXWKHUQ5/5$0''&6DQG%*RQ
                   E]

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       1RY            7LPH               30           &UHDWHGE\   
   &RPPHQW
                   &DVHVXPPDU\DVRIWRGD\LQUHJDUGVWRWKH)LOH5HYLHZZLWK'U
                   :LOVRQ
                   'HEDSSURYHGWKHILOHUHYLHZRQFHZHUHFHLYHWKH05,LPDJHVRQ
                   &'
                   KROGRQWKLVXQWLOZHUHFHLYHWKHRWKHU05,RQ&'

                   &'ZLWK
                   ILOHDW%=
VGHVNDQGGHVNWRSILOHRI05VDVZHOO
                   E]

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       1RY            7LPH               $0           &UHDWHGE\   
   &RPPHQW
                   
                   'LVFUHFHLYHGIURP.+HOOHUWRGD\WKDWVKHUHFHLYHGLQWKH
                   PDLOHPDLOWR55RVVIRUFODULILFDWLRQUHJDUGLQJZKHUHWKHGLVFLVWREH
                   VHQWDQGLIRWKHUGRFVJRZLWKLW
                   E]

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       1RY             7LPH               $0           &UHDWHGE\   
   &RPPHQW
                   1RWHIURP'XQFDQ+RVSLWDO&'RI+HDG&7PDLOHGRQ5HSRUWID[HG
                   WR+06UOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       1RY             7LPH               $0           &UHDWHGE\   
                                                                                               DF_001730 [Woodus]
'DWH                                                                                                 3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 33 of 84
   &RPPHQW
                   6LJQHGDXWKRUL]DWLRQVIRU52,UHFHLYHGIURPHPSOR\HHUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   52,IRUPVHPDLOHGWRHHDW                               UOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   /DWHHQWU\)87&WRHHRQ#DSSUR[WR
                   GLVFXVVDGGLWLRQDOLQIRUPDWLRQQHHGHGWRSURFHVV))'UHYLHZ((VWDWHV
                   WKDWKHZLOOVLJQ52,IRUPVDQGUHTXHVWV+06WRIRUZDUGWKHPWRKLPYLD
                   HPDLODW                             UOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              30          &UHDWHGE\   
   &RPPHQW
                   ((GLGQRWUHVSRQGWRRIIHUFDVHLVEHLQJFORVHG

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              30          &UHDWHGE\   
   &RPPHQW
                   ((GLGQRWDFFHSWVHUYLFHVFDVHLVEHLQJFORVHG

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   $VLQIR+06KDGFRQYHUVDWLRQZLWKHHUHJDUGLQJDGGLWLRQDOLQIRUPDWLRQ
                   QHHGHGWRSURFHVV))'UHYLHZ$GYLVHGHHWKDWDFWXDOLPDJLQJIURPEUDLQ
                   05,DQG((*WUDFLQJVDUHUHTXHVWHGWRVHQGWRFRQVXOWDQWQHXURORJLVWIRU
                   UHYLHZ+06ZLOOVHQGHHDXWKRUL]DWLRQIRU52,IRUPV((VRXQGVKHVLWDQW
                   DQGVWDWHVKHZRXOGOLNHWRWKLQNDERXWLW+HVWDWHVKHZLOOWDONZLWK
                   KLV0'DERXWWKLVLIKHVKRXOGDXWKRUL]HWKHUHOHDVHRIWKLVWR+06((
                   VWDWHVKHGRHVQ
WNQRZLIKHVKRXOGGRWKDW5HOD\HGWRHHWKDWLWLVKLV
                   GHFLVLRQ((DJDLQVWDWHVKHZRXOGOLNHWRWKLQNDERXWLWDQGDVNVLI+06
                   ZLOOFDOOKLPEDFNQH[WZHHN$JUHHGZLWKHHWKDW+06ZLOOUHDFKRXWWR
                   KLPRQ:HGQHVGD\QH[WWRIROORZXSUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   7&WRHHWRGLVFXVVDGGLWLRQDOLQIRUPDWLRQQHHGHGWR
                   SURFHVV))'UHYLHZ$GYLVHGHHWKDWDFWXDOLPDJLQJIURPEUDLQ05,DQG((*
                   WUDFLQJVDUHUHTXHVWHGWRVHQGWRFRQVXOWDQWQHXURORJLVWIRUUHYLHZ+06
                   ZLOOVHQGHHDXWKRUL]DWLRQIRU52,IRUPV((VRXQGVKHVLWDQWDQGVWDWHV
                   KHZRXOGOLNHWRWKLQNDERXWLW+HVWDWHVKHZLOOWDONZLWKKLV0'DERXW
                   WKLVLIKHVKRXOGDXWKRUL]HWKHUHOHDVHRIWKLVWR+06((VWDWHVKH
                   GRHVQ
WNQRZLIKHVKRXOGGRWKDW5HOD\HGWRHHWKDWLWLVKLVGHFLVLRQ
                   ((DJDLQVWDWHVKHZRXOGOLNHWRWKLQNDERXWLWDQGDVNVLI+06ZLOOFDOO
                   KLPEDFNQH[WZHHN$JUHHGZLWKHHWKDW+06ZLOOUHDFKRXWWRKLPRQ
                   :HGQHVGD\QH[WWRIROORZXSUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       6HS           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   3HUYHUEDOFRQYHUVDWLRQZLWK'&6FODULI\LQJLIUHSRUWVIURP%UDLQ05,DQG
                                                                                           DF_001731        [Woodus]
'DWH                                                                                                 3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 34 of 84
                   ((*ZHUHVXIILFLHQWWRVHQGIRUILOHUHYLHZDORQJZLWKXSGDWHGQRWHIURP
                   QHXURORJLVW3HU'&6HHVKRXOGVXEPLWDFWXDOLPDJLQJVWXGLHVDQG((*
                   PRQLWRULQJWUDFLQJVRQ&'WR+06WRVXEPLWZLWKPHGLFDOGRFXPHQWDWLRQIRU
                   ILOHUHYLHZUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        6HS          7LPH             $0           &UHDWHGE\   
   &RPPHQW
                   /1UHFHLYHGIURP'&6LI,DPXQGHUVWDQGLQJ\RXUFRPPHQWVWKHHHKDV
                   QRZVXEPLWWHGWKHPHGLFDOUHFRUGVVRSURFHHGZLWKWKHILOHUHYLHZUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             $0          &UHDWHGE\   
   &RPPHQW
                   ((KDVVXEPLWWHGGRFXPHQWDWLRQIURPKLVQHXURORJLVWKDVUHFHLYHGDQG
                   UHYLHZHGWKHEUDLQ05,DQG((*1RFKDQJHLQQHXURORJLVW
V
                   UHFRPPHQGDWLRQVIRU57:6HQWWR$0'3OHDVHUHYLHZDQGDGYLVHUHJDUGLQJ
                   $0'QRWHEHORZ

                   0\VHQVHLVWKDWWKH'&6ZDQWHGWKH((WRVXEPLWWKH
                   %UDLQ05,
                   DQG((*UHSRUWVEHIRUHVKHZRXOGDXWKRUL]HWKHUHYLHZE\'U
                   :LOVRQVR,
                   WKLQNWKDWZHVWLOOQHHGWKRVHUHSRUWVIURPWKH((
                   7K['U
                   &UOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             $0          &UHDWHGE\   
   &RPPHQW
                   'XSOLFDWHLQIRUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             $0          &UHDWHGE\   
   &RPPHQW
                   5KRQGD0\VHQVHLVWKDWWKH'&6ZDQWHGWKH((WRVXEPLWWKH%UDLQ05,
                   DQG((*UHSRUWVEHIRUHVKHZRXOGDXWKRUL]HWKHUHYLHZE\'U:LOVRQVR,
                   WKLQNWKDWZHVWLOOQHHGWKRVHUHSRUWVIURPWKH((
                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             30           &UHDWHGE\   
   &RPPHQW
                   8SGDWHGQHXURQRWH'U'DDLIUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             30           &UHDWHGE\   
   &RPPHQW
                   8SGDWHGQHXURQRWHUHFHLYHGIURPHH
VQHXURORJLVW3OHDVHUHYLHZDQG
                   DGYLVHUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ          7LPH             30           &UHDWHGE\   
   &RPPHQW
                   55%6'6FRPSOHWHGE\+06ID[HGDQGPDLOHGWR55%&RS\WR/5IRU
                   IRUZDUGLQJWR55(QUROOPHQW6HUYLFHV&RS\PDLOHGWRHHUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\ $FWLYLW\
                                                                                        DF_001732     [Woodus]
'DWH                                                                                             3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 35 of 84
   &UHDWHGRQ        $XJ           7LPH              30           &UHDWHGE\   
   &RPPHQW
                   /HWWHUWR'U'DDLIID[HG&RQILUPDWLRQUHFHLSWUHFHLYHG+DUGFRS\
                   PDLOHGUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              30           &UHDWHGE\   
   &RPPHQW
                   68OHWWHUWRHHUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              30           &UHDWHGE\   
   &RPPHQW
                   57&WRHHWRUHOD\+06LVUHTXHVWLQJFRQILUPDWLRQIURP
                   WUHDWLQJQHXURORJLVWWKDWKHKDVUHFHLYHGDQGUHYLHZHGEUDLQ05,DQG((*
                   UHVXOWVIURP0DUFKDQGSURYLGHXSGDWHGVWDWHPHQWWR+06UHJDUGLQJHH
V
                   57:((VWDWHVWKHQHXURORJLVWDOUHDG\UHOHDVHGKLP5HDGWRHHWKH
                   QRWHVIURPWKHQHXURORJ\FRQVXOWDWLRQUHSRUWIURP'U/HZLVZH
                   ZLOOVHQGIRUDFRS\RIKLVUHFHQWEUDLQ05,DQG((*UHVXOWVGRQHDWDQ
                   RXWVLGHKRVSLWDOLQ0DUFKDQGLIWKHVHDUHQRUPDOWKHQLW
V2.ZLWKPH
                   IRUKLPWRUHWXUQWRZRUN5HTXHVWHGHH
VDXWKRUL]DWLRQWRFDOO'U
                   /HZLVZLWKKLPRQWKHOLQHDQGZHFRXOGDVNLIWKLVKDVEHHQFRPSOHWHGDQG
                   LIVRUHTXHVWXSGDWHGVWDWHPHQWIURP'U/HZLV((LQDJUHHPHQW
                   $WWHPSWHGWRFRQWDFW'U/HZLV
RIILFHDW[%XV\[
                   1RRSWLRQWROHDYH90+06ZLOODWWHPSWWRFRQWDFW'U/HZLVRIILFHDJDLQ
                   WRPRUURZZLWKHHRQWKHOLQH((LQDJUHHPHQWUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   OHWWHUVHQW

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    6HUYLFH
   &UHDWHGRQ        $XJ           7LPH              $0           &UHDWHGE\   
   &RPPHQW        ','1275(6321'722))(5


   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   OHWWHUVHQW

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              30          &UHDWHGE\   
   &RPPHQW
                   '&6GHFOLQHGWKHILOHUHYLHZUHTXHVWDWWKLVWLPH
                   E]

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ           7LPH              30          &UHDWHGE\   
   &RPPHQW
                   ,UHYLHZHGWKHILOHUHYLHZUHTXHVWZLWK'&6'*
                   5KRQGD
                   'HE
                   ZLOOQRWDSSURYHWKHILOHUHYLHZDWWKLVWLPHGXHWRLQFRPSOHWHPHGLFDO
                   UHFRUGV3HUWKH%DSWLVW+HDOWKQHXURORJ\RIILFHYLVLWRQ'U
                   'DDLIVWDWHG:LOOVHQGIRUDFRS\RIKLVUHFHQW%UDLQ05,DQG((*
                                                                                              DF_001733 [Woodus]
'DWH                                                                                               3DJHRI
                   Case    4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 36 of 84
                   UHVXOWVGRQHDWDQRXWVLGHKRVSLWDOLQ0DUFKDQGLIWKHVHDUHQRUPDOWKHQ
                   LW
VRNZLWKPHIRUKLPWRUHWXUQWRZRUN
                   'LUHFWLRQIURP'*LVWRFRQWDFW
                   WKHHHDQGLQIRUPKLPKHLVWRVXEPLWWKHVHUHSRUWVWRWKHQHXURORJLVW'U
                   'DDLIIRUUHYLHZDQGWRVXEPLWWKHQRWHVRIWKHUHYLHZWR+06'U&LVWR
                   WKHQUHYLHZLWDJDLQDQGGHWHUPLQHLIDILOHUHYLHZZLOOEHQHHGHG

                   7<%=

   &DVH1XPEHU                  6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   7UDFNPDQZLWKXQH[SODLQHG/2&30+RIVWURNHLQ0DUFK$0'UHTXHVWV
                   QHXURILOHUHYLHZUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   /1IURP$0'-&5KRQGD<RXDQG,FDOOHGWKLV((WKLVDIWHUQRRQWR
                   H[SODLQP\))'3URFHVVGHFLVLRQ<RXLQWURGXFHGXVDQGWKHQ,OHGWKH
                   FRQYHUVDWLRQ$IWHUGHVFULELQJP\FUHGHQWLDOVDQGP\UROHDVD$VVRFLDWH
                   0HGLFDO'LUHFWRU,EULHIO\VXPPDUL]HGWKHPHGLFDOLVVXHVLQ0U:RRGXV

                   FDVHWKHUHDVRQVIRUWKHLPSRVLWLRQRIUHVWULFWLRQVDQGZKDWWKH
                   UHVWULFWLRQVDUHLQJHQHUDOWHUPV,DOVRDGYLVHG0U:RRGXVWKDWZHZRXOG
                   EHKDYLQJDILOHUHYLHZGRQHGXHWRWKHODFNRIFODULW\UHJDUGLQJWKH
                   FDXVHRIWKHSUHVHQWLQJFRPSODLQW,GLGUHPLQGKLPWKDWVHYHUDO
                   QHXURORJLFGLVRUGHUVZHUHPHQWLRQHGLQWKHPHGLFDOUHFRUGV
                   :HLQYLWHG
                   KLVTXHVWLRQV+HEHOLHYHVWKDWWKHFDXVHZDVDPHGLFDWLRQUHDFWLRQRI
                   VRPHNLQG+HZDQWHGWRNQRZLIKHFRXOG57:QRZ+HVWDWHGWKDWKHZDV
                   FHUWDLQWKDWKHFRXOGQRWEHXVHGZLWKUHVWULFWLRQV,DGYLVHGKLPWKDW
                   WKHSURFHVVLVWRLVVXHWKHUHVWULFWLRQVDQGWKHQILQGRXWLIWKH
                   HPSOR\LQJGHSDUWPHQWFDQXVHKLPZLWKLQWKHUHVWULFWLRQV:HWDONHGDERXW
                   WKHVHWRSLFVDFRXSOHRIWLPHV+HVWDWHGWKDWKHKDGFRZRUNHUVZLWKWKH
                   VDPHFRQGLWLRQVWKDWKHKDVDQGWKH\ZHUHEDFNDWZRUN+HPHQWLRQHG
                   GLVFULPLQDWLRQ,H[SODLQHGWKDWHDFKFDVHKDVLWVRZQIHDWXUHVDQGWKH
                   H[DFWGLDJQRVLVDQGZDLWLQJWLPHSHULRGVIRU57:FDQYDU\GHSHQGLQJXSRQ
                   WKHPHGLFDOIDFWV+HKDGQRDGGLWLRQDOTXHVWLRQVIRUPH
                   $FWLRQ
                   ,
                   KDYHSUHYLRXVO\RXWOLQHGWKHUHVWULFWLRQVDQG\RXZLOOGHWHUPLQHLIWKH
                   GHSDUWPHQW
                   ,ZLOOSUHSDUHWKHUHIHUUDOOHWWHUIRU'U:LOVRQ
V
                   UHYLHZ
                   :HZLOO)8DIWHUWKHUHYLHZUHVXOWVDUHDYDLODEOH
                   7K['U&

   &DVH1XPEHU                  6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   7UDFNPDQZLWKRQJRLQJ6,ZRUNUHVWULFWLRQVQRWDFFRPPRGDWHGE\GHSDUWPHQW
                   UOU

   &DVH1XPEHU                  6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   6LJQHGUHVWULFWLRQUHYLHZIRUPUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ            7LPH              $0           &UHDWHGE\   
   &RPPHQW
                                                                                      DF_001734
                   7&ZLWKHHDQG$0'UHJDUGLQJ))'GHWHUPLQDWLRQ((VWDWHVKHGRHVQRW                    [Woodus]
'DWH                                                                                                   3DJHRI
                   Case  4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 37 of 84
                   DJUHHZLWKUHVWULFWLRQVEXWGRHVZDQWWRGLVFXVVRWKHURSSRUWXQLWLHVIRU
                   HPSOR\PHQWZLWK8355'30UHIHUUDOZLOOEHPDGHUOU

   &DVH1XPEHU                6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ          7LPH              30          &UHDWHGE\    
   &RPPHQW
                   5REHUWD-RKQVRQ7UXGLH7HUUHR3DXOD2VERUQ
                   0LFKHOOH.HOOH\.ULVWLQ%UDFNHQ.DWK\
                   7ULPPHU&DURO3DWWHUVRQLQIRUPHGHHLVPHGLFDOO\
                   FOHDUHGWR57:ZLWKRQJRLQJZRUNUHVWULFWLRQV5HVWULFWLRQVFDQEH
                   UHDVVHVVHGLQ)HEIRUSRWHQWLDOUHPRYDODQG57:UOU

   &DVH1XPEHU                6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ          7LPH              30          &UHDWHGE\    
   &RPPHQW
                   5KRQGD7KLV((LVD7UDFNPDQDQGKDVSURYLGHGKLVWRULFDOO\LQDFFXUDWH
                   LQIRUPDWLRQWRWKHH[DPLQLQJQHXURORJLVWWHOOLQJWKHQHXURORJLVWWKDWKH
                   KDVQHYHUKDGDVWURNHDQGWKDWKLVV\PSWRPVZHUHGXHWRDUHDFWLRQWR
                   FROGPHGLFLQH
                   +LVEUDLQ05,VKRZVWKHSUHYLRXV&9$
                   +LV((*
                   GRHVQRWVKRZVHL]XUHV
                   7KLVOHDYHVXVZLWKDQXQH[SODLQHGHSLVRGHRIORVV
                   RIFRQVFLRXVQHVV7KH((ZLOOQHHGVXGGHQLQFDSDFLWDWLRQUHVWULFWLRQVIRU
                   DRQH\HDUSHULRGIURPWKHGDWHRIWKHHSLVRGHLQTXHVWLRQ
                   
                   $FWLRQ
                   $7KHHPSOR\HHLVJLYHQWKHIROORZLQJZRUN
                   UHVWULFWLRQV
                   1RWWRRSHUDWHFRPSDQ\YHKLFOHVRQWUDFNRUPRELOH
                   HTXLSPHQWRUIRUNOLIWV
                   1RWWRZRUNRQUDLOWUDLQVRUZRUNWUDLQV
                   GXPSLQJEDOODVW&DQSHUIRUPZRUNUHPDLQLQJEHWZHHQWKHUDLOVRIWKH
                   RFFXSLHGWUDFNRUWRWKHILHOGVLGHRIWKHRFFXSLHGWUDFN:KHUHWKHUHDUH
                   DGMDFHQWWUDFNVZLWKOHVVWKDQIRRWWUDFNFHQWHUVXWLOL]HRQWUDFN
                   VDIHW\SURWHFWLRQIROORZLQJQRUPDOVDIHW\DQG0DLQWHQDQFHRI:D\
                   UXOHV
                   1RWWRRSHUDWHFUDQHVKRLVWVRUPDFKLQHU\LIWKHVH
                   DFWLYLWLHVPLJKWFUHDWHDULVNRIKDUPWRRWKHUVRUDULVNRIFDWDVWURSKLF
                   LQMXU\WRWKHHPSOR\HH
                   1RWWRZRUNDWXQSURWHFWHGKHLJKWVRYHUIHHW
                   DERYHWKHJURXQG&DQZRUNRQWKHEHGVRIWUXFNVDQGRFFXS\EULGJHV
                   IROORZLQJQRUPDOVDIHW\UXOHV
                   1RWWRZRUNRQPDQRUPDQJDQJV
                   LHVZLWFKRLOHULQVSHFWRUZHOGHURUKHOSHUMREPDQVHFWLRQJDQJ
                   0XVWKDYHDWOHDVWDGGLWLRQDOHPSOR\HHVRQJDQJRUDWZRUNDUHDLQRUGHU
                   WRXVH7UDLQ$SSURDFK:DUQLQJUHJXODWLRQV/RRNRXW,IDQHZMRE
                   DVVLJQPHQWLVFRQVLGHUHGRXWVLGHRIWKH(QJLQHHULQJ'HSDUWPHQW+HDOWK
                   DQG0HGLFDO6HUYLFHVPXVWUHYLHZWKHMREUHTXLUHPHQWVDQGGHWHUPLQHLIWKH
                   HPSOR\HHFDQVDIHO\SHUIRUPWKHHVVHQWLDOIXQFWLRQVRIWKHMRE
                   %7KHVH
                   ZRUNUHVWULFWLRQVDUHRQJRLQJEXWFDQEHUHDVVHVVHGZKHQWKH((LVRQH
                   \HDUSRVWHYHQW7KDWPHDQVWKDWWKHHDUOLHVWSRVVLEOH)XOO'XW\GDWHLV
                   $SSUR[LPDWHO\RQHPRQWKSULRUWRWKDWGDWHWKH((VKRXOGKDYHD
                   GHWDLOHGFOLQLFDOQHXURORJ\HYDOXDWLRQDQGVXSSO\WKHFOLQLFQRWHWR
                   +06
                   &3OHDVHQRWLI\WKH((RIWKHUHVWULFWLRQV
                   ',I\RXIHHOWKDWZH
                   QHHGWRKROGDFDOOZLWKWKH((,FDQEHDYDLODEOHLQWKHDIWHUQRRQQH[W
                   ZHHN
                   7K['U&

   &DVH1XPEHU                6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ          7LPH              30          &UHDWHGE\    

                                                                                        DF_001735 [Woodus]
'DWH                                                                                             3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 38 of 84
   &RPPHQW
                   1HXURFRQVXOWUHSRUWUOU

   &DVH1XPEHU                    6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $XJ              7LPH              30           &UHDWHGE\   
   &RPPHQW
                   7UDFNPDQKDVFRPSOHWHGQHXURDQGFDUGLRHYDO&RQVXOWUHSRUWVUHFHLYHG
                   3OHDVHUHYLHZDQGDGYLVHUOU

   &DVH1XPEHU                    6HUYLFH1XPEHU               &DWHJRU\     $FWLYLW\
   &UHDWHGRQ        $XJ             7LPH              30           &UHDWHGE\   
   &RPPHQW
                   3DXOD2VERUQ5REHUWD-RKQVRQ7UXGLH7HUUHR
                   0LFKHOOH.HOOH\.ULVWLQ%UDFNHQ.DWK\
                   7ULPPHU&OD\WRQ0F:KLUWHU&DURO3DWWHUVRQ
                   LQIRUPHG0/2$H[WUHFRPPHQGHGWKUXUOU

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ             7LPH              30           &UHDWHGE\   
   &RPPHQW
                                   57&WRHH5HOD\HGWRHHFDUGLRPHGLFDODQG((*UHSRUW
                   UHFHLYHG+06ZLOOQHHGQHXURORJ\FRQVXOWDWLRQUHSRUW((VWDWHVKHKDV
                   VHHQWKHQHXURORJLVWDQGWKH\DUHWRID[LQIRWR+06WRPRUURZ
                   ,QVWUXFWHGHHWRIXZLWK))'WRPRUURZWRFRQILUPQHXURUHSRUWUHFHLYHG
                   ((YRLFHVXQGHUVWDQGLQJUOU

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        $XJ             7LPH              30           &UHDWHGE\   
   &RPPHQW
                   &DUGLRPHGLFDO((*UHSRUWUOU

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        -XQ             7LPH              30           &UHDWHGE\   
   &RPPHQW
                   $WWHPSWWRFDOO'U+HDUQDWSPDV,ZDVRXWRIWKHRIILFHWKLV$0
                   2IILFHLVFORVHGIRUWKHGD\,OHIW90IRU'U+HDUQWRFDOOEDFNWRP\
                   QXPEHUDV5KRQGDLVRXWRIWKHRIILFHDQGWKDWLVZKRKHKDGLQLWLDOO\
                   FDOOHGNQK

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        -XQ             7LPH              30           &UHDWHGE\   
   &RPPHQW
                   90IURP'U+HDUQLQOLWWOHURFNIRUFDOOEDFN5(MHR\
                   ZRRGXVQH[WVWHSV

                   7&WRFOLQLFDQGKHKDVOHIWIRUWKHGD\EXWZLOO
                   EHLQDW$0&67

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ        -XQ              7LPH              30           &UHDWHGE\   
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                   57&WRHPSOR\HH                  DIWHUKHOHIWDPHVVDJHZLWK+06(PSOR\HH
                   UHTXHVWHGDFRS\RIWKH))'OHWWHUWKDWZDVVHQWWRKLPEHVHQWYLD
                   SHUVRQDOHPDLODW                                  ))'QXUVHDJUHHGWRVHQG
                   (PSOR\HHZLOOIROORZXSZLWKIXUWKHUTXHVWLRQVMJU

   &DVH1XPEHU                    6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
                                                                                               DF_001736 [Woodus]
'DWH                                                                                                 3DJHRI
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   &UHDWHGRQ       0D\            7LPH              30            &UHDWHGE\   
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                   7&IURP((DVNLQJIRUZKDWKHQHHGVKHZLOONHHSWU\LQJWRJHWLWDQG
                   VWDWH
VWKDWLW
VKDUGWRJHWLQWRDQHXURORJLVWNQK

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0D\            7LPH              30            &UHDWHGE\   
   &RPPHQW
                   5HVHQWOHWWHUGDWHGWRHHZLWKKLJKOLJKWHGLQIRUPDWLRQVWLOOQHHGHG
                   WRFRPSOHWH))'UHYLHZFDUGLRFRQVXOWUHSRUWQHXURFRQVXOWUHSRUWDQG
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   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0D\            7LPH              $0           &UHDWHGE\   
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                   5KRQGD7KLV((KDVVXEPLWWHGERWKROGDQGQHZLQIRUPDWLRQ
                   
                   (&+2VKRZHGQRUPDO() DQGQRVKXQWRQWKHEXEEOHVWXG\1R
                   VLJQLILFDQWILQGLQJVRWKHUZLVH
                   1HZSDWLHQWH[DPZLWK'U+HDUQHIURP
                   0DUFK7KH((ZDVFRQFHUQHGDERXWFDUGLRYDVFXODUGLVHDVHULVN+HZDV
                   UHIHUUHGIRUDQ(77
                   %UDLQ05,6KRZVWKDWROG&9$
VDUH
                   QRQFRUWLFDOQRQVXEFRUWLFDOEHLQJORFDWHGLQWKHULJKWSRQWLQHDUHDDQG
                   WKHOHIWSHULYHQWULFXODUDUHD7KLVPDNHVWKHZDLWLQJWLPHIRU57:
                   \HDU+HLVDOUHDG\SDVWWKDWSRLQW

                   :HVWLOOQHHGWKHUHVWRIWKH
                   FDUGLRYDVFXODUZRUNXSDQGQHXURORJ\HYDOXDWLRQDQG((*IRUKLVUHFHQW
                   XQH[SODLQHGORVVRIFRQVFLRXVQHVVHSLVRGH$JDLQVRPHUHFHQWQRWHV
                   VXJJHVWWKDWWKHHSLVRGHZDVDQRWKHU7,$6RPHIHDWXUHVVXJJHVWVHL]XUH
                   VRWKH((QHHGVWRFRPSOHWHKLVZRUNXSDQGVXEPLWWKH
                   LQIRUPDWLRQ

                   $FWLRQ
                   5HPDLQV127))'
                   :HZLOODZDLWWKHUHVWRIWKH
                   SUHYLRXVO\RXWOLQHGDQGUHTXHVWHGPHGLFDOLQIRUPDWLRQ

                   7K['U&

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0D\            7LPH              $0            &UHDWHGE\   
   &RPPHQW
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   &UHDWHGRQ       0D\            7LPH              $0            &UHDWHGE\   
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                   ((KDVSURYLGHGPHGLFDOGRFXPHQWDWLRQIRUUHYLHZ3OHDVHUHYLHZDQG
                   DGYLVHUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
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                   7&WR'U+HDUQHZKRUHOD\VHHKDVFRPSOHWHGEUDLQ05,DQG
                   FDUGLRHYDO'U+HDUQHUHTXHVWV+06VHQG52,IRUPWRKLVRIILFHIRUHH
                   WRVLJQDQGLQIRZLOOEHUHOHDVHGWR+06               7&ZLWKHHWR
                   UHOD\DERYHFRQYHUVDWLRQZLWK'U+HDUQH((ZLOOJRWRRIILFHDQGVLJQ
                   SDSHUZRUNUOU
                                                                                              DF_001737 [Woodus]
'DWH                                                                                                3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 40 of 84
   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       0D\           7LPH              $0          &UHDWHGE\   
   &RPPHQW
                   <QH]3DFNHU3DXOD2VERUQ7UXGLH7HUUHR.ULV%UDFNHQLQIRUPHG0/2$H[W
                   UHFRPPHQGHGWKUXUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       $SU           7LPH              30           &UHDWHGE\   
   &RPPHQW
                   5KRQGD,MXVWVSRNHZLWK'U+HDUQHDWKLVFOLQLF'U+HDUQHKDG
                   HQFRXUDJHG0U:RRGXVWRDXWKRUL]HDFDOOEHWZHHQ'U+HDUQHDQGPH+H
                   ZHOFRPHGP\FDOODQGZHKDGDSRVLWLYHDQGSURGXFWLYHFRQYHUVDWLRQ
                   'U
                   +HDUQHFRQILUPHGWKDW0U:RRGXVKDGKDGDVWURNHDSSUR[LPDWHO\RQH\HDU
                   DJR'U+HDUQHLVXQFHUWDLQRIWKHFDXVHRIWKHUHFHQWHYHQWEXWKHKDV
                   VWURQJO\DGYLVHG0U:RRGXVWRKDYHDQDSSURSULDWHZRUNXS7RWKLV
                   SRLQW
                   +HKDVUHIHUUHGWKH((WRDFDUGLRORJLVWZKRKDVXQGHUWDNHQD
                   FOLQLFDOH[DPDQGGLDJQRVWLFZRUNXS,WZDVDSSDUHQWO\QHJDWLYHDQGWKH
                   ((KDVEHHQUHOHDVHGE\WKHFDUGLRORJLVW:HZLOOQHHGWRDVNWKH((IRU
                   WKRVHUHFRUGV
                   'U+HDUQHLVDUUDQJLQJDQHXURORJ\ZRUNXSEXWDFFHVV
                   WRQHXURORJLVWVLVOLPLWHGLQKLVDUHD'U+HDUQHLVWU\LQJWRH[SHGLWH
                   WKHFRQVXOWDWLRQ:HGLVFXVVHGWKHQHHGIRUWKHFOLQLFDOH[DP%UDLQ05,
                   DQG((*'U+HDUQHEHOLHYHVWKDWWKHQHXURORJLVWZLOOGRDOORIWKLV
                   WHVWLQJ
                   'U+HDUQXQGHUVWDQGVWKHQHHGIRUWKHGLDJQRVWLFZRUNXSGXH
                   WRWKHLQFUHDVHGULVNRIIXWXUHVXGGHQLQFDSDFLWDWLRQHYHQWV+HLV
                   VWURQJO\DGYLVLQJWKH((WRJHWWKHIXOOZRUNXS

                   ,H[SODLQHGWR'U
                   +HDUQHWKDWWKLVHPSOR\HHPD\UHTXLUHRQJRLQJVXGGHQLQFDSDFLWDWLRQ
                   UHVWULFWLRQVGXHWR
                   &9$RQH\HDUDJR
                   1HZHYHQWLQYROYHGLQWKLV
                   FDVH
                   7KHGLDJQRVWLFZRUNXSUHVXOWV

                   'U+HDUQHHQFRXUDJHGPHWRFDOO
                   EDFNLIQHHGHG+HSURYLGHGPHZLWKKLVHPDLODGGUHVV
                                            ,RIIHUHGP\FHOOSKRQHQXPEHUWR'U+HDUQHEXW
                   KHWKRXJKWWKDWZHFRXOGH[FKDQJHHPDLOVLIQHHGHG,WKDQNHGKLPIRU
                   WDNLQJP\FDOO

                   $FWLRQ
                   5HPDLQV127))'
                   3OHDVHDVN0U:RRGXVIRU
                   WKHFDUGLRYDVFXODUZRUNXSUHFRUGV
                   :HZLOODZDLWWKHUHVXOWVRIWKH
                   QHXURORJ\HYDOXDWLRQ

                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       $SU           7LPH              30           &UHDWHGE\   
   &RPPHQW
                   ((KDGDSSWZLWKKLVSURYLGHUWRGD\'U+HDUQHV'U+HDUQHVLV
                   DYDLODEOHWRVSHDNZLWK\RXWKLVDIWHUQRRQDIWHUSP&HQWUDO&RQWDFW
                   UOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       $SU            7LPH              30           &UHDWHGE\   
                                                                                           DF_001738 [Woodus]
'DWH                                                                                              3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 41 of 84
   &RPPHQW
                   5REHUWD6-RKQVRQ7UXGLH$7HUUHR<1(=)3DFNHU
                   3DXOD-2VERUQ0LFKHOOH5.HOOH\
                   .ULVWLQ0%UDFNHQ.DWK\/7ULPPHU&DURO6
                   3DWWHUVRQLQIRUPHG0/2$H[WUHFRPPHQGHGWKUXUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       $SU            7LPH              30            &UHDWHGE\   
   &RPPHQW
                   ((SKRQHVWRUHSRUWKHKDVDSSWVFKHGXOHGUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              $0            &UHDWHGE\   
   &RPPHQW
                   5KRQGD7KDQN\RXIRUWKHXSGDWHGLQIRUPDWLRQ
                   1RFKDQJHLQWKHSUHYLRXV
                   ))'3URFHVV'HFLVLRQ
                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              $0            &UHDWHGE\   
   &RPPHQW
                   'U&QRLQIRRQ&9$ODVW\HDU((GLGQRWFRPHWKUX))'UOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              30            &UHDWHGE\   
   &RPPHQW
                   5KRQGD	-HDQ3HUP\FDVHUHYLHZZLWKWKH&02DQG'&6
                   7KLV((
                   UHPDLQV127))'
                   7KH((QHHGVDIXOOFOLQLFDOQHXURORJ\HYDOXDWLRQ
                   %UDLQ05,DQG((*IRUFRQVLGHUDWLRQRI57:DW)XOO'XW\
                   &DUGLRORJ\
                   HYDOXDWLRQLVQRWQHHGHGDWSUHVHQW
                   3OHDVHVHHLIZHKDYHDQ\UHFRUG
                   RIWKLV((KDYLQJD&9$DERXWRQH\HDUDJR
                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              30            &UHDWHGE\   
   &RPPHQW
                   55%6'6FRPSOHWHGE\+06ID[HGDQGPDLOHGWR55%&RS\PDLOHGWRHHUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              30            &UHDWHGE\   
   &RPPHQW
                   7&ZLWKHHWRUHOD\DGGLWLRQDOPHGLFDOLQIRQHHGHGWR
                   FRPSOHWH))'UHYLHZ((ZLOOFRQWDFWKLVSURYLGHUWRFRRUGLQDWHUHTXHVWHG
                   HYDOXDWLRQV5HIHUUHGHHWROHWWHUVHQWE\+06RQ((LQVWUXFWHG
                   WRFRQWDFW+06LIKHRUKLVSURYLGHUKDYHTXHVWLRQVUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU                &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH              $0           &UHDWHGE\   
   &RPPHQW
                   5KRQGD7KHPHGLFDOUHFRUGVREWDLQHGWRWKLVSRLQWLQGLFDWHSRVVLEOH7,$
                   YVVHL]XUH
                   &RZRUNHUVREVHUYHGWKH((WREHFRQIXVHGDQGVKDNLQJDWWKH
                   KRWHOZKHQWKH\FKHFNHGRQKLPDIWHUKHGLGQRWJHWXSLQWLPHWRUHSRUWDF_001739         [Woodus]
'DWH                                                                                                   3DJHRI
                   Case   4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 42 of 84
                   IRUZRUN
                   7KH(06UHFRUGVVKRZKLPWREHRULHQWHGEXWGLDSKRUHWLF

                   7KHKRVSLWDOUHFRUGVVKRZWKDWKHKDGDOWHUHGPHQWDOVWDWXVDSKDVLDDQG
                   G\VDUWKULDVOXUUHGVSHHFK$+HDG&76FDQVKRZHGOHIWIURQWDOFKDQJHV
                   IHOWWREHVHFRQGDU\WRKLVSUHYLRXV&9$RQH\HDUDJR+HZDVVHQWIRUDQ
                   05,6FDQEXWGHYHORSHGQDXVHDDQGFRXOGQRWKDYHWKHVWXG\$IWHUKLV
                   QDXVHDZDVFRQWUROOHGKHUHIXVHGWKH05,$Q((*ZDVDOVRRUGHUHGGXHWR
                   WKHUHSRUWHGVKDNLQJEXWWKH((OHIWWKHKRVSLWDO$JDLQVW0HGLFDO$GYLFH
                   EHIRUHWKDWFRXOGEHGRQHDVZHOO
                   7KHDGPLWWLQJGLDJQRVLVZDV
                   7UDQVLHQW,VFKHPLDSUHVXPDEO\D7,$EXWVHULRXVFRQVLGHUDWLRQZDV
                   JLYHQWRDVHL]XUHDVZHOO
                   $FWLRQ
                   7KLV((LV127))'
                   +HQHHGVWR
                   )8ZLWKKLVGRFWRUVDQGKDYHDIXOOQHXURORJ\DQGFDUGLRYDVFXODU
                   ZRUNXS
                   3OHDVHDVN-HDQ/HPSNH51WREHVXUHWKDWZHGLVFXVVWKLV
                   FDVHDWWKHWLPHRIRXUQH[W&02FDVHUHYLHZ
                   3OHDVHDOVRUHYLHZSULRU
                   FDVHVWRGHWHUPLQHLIWKLV((UHSRUWHGWKH&9$WKDWKHKDGRQH\HDU
                   DJR
                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH             30           &UHDWHGE\   
   &RPPHQW
                   ('KRVSLWDODGPLVVLRQGRFXPHQWDWLRQUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH             30           &UHDWHGE\   
   &RPPHQW
                   7UDFNPDQZKR
VPDQDJHUUHSRUWHGWKDWWKH((KDGVWURNHOLNHV\PSWRPVRQ
                   KDVSURYLGHG('UHFRUGV$SSHDUVHHOHIW$0$3HU7&ZLWKHHKH
                   KDVQRWVHHQDQ\SURYLGHUVVLQFHUHWXUQLQJKRPH3OHDVHUHYLHZDQG
                   DGYLVHUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU           7LPH             30           &UHDWHGE\   
   &RPPHQW
                   6LJQHGDXWKRUL]DWLRQIRU52,IRUPUHFHLYHGDQGID[HGWR'XQFDQ5HJLRQDO
                   +RVSLWDOUOU

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU            7LPH             30           &UHDWHGE\   
   &RPPHQW
                   .DWLH7KHUHLVFRQIOLFWLQJLQIRUPDWLRQLQWKLVFOLQLFQRWH,WVWDWHV
                   WKDW&9$LVOLQNHGWRWKHYLVLWWKDWKHMXVWKDG7KDWPHDQVWKDWLWLVD
                   FXUUHQWGLDJQRVLV)XUWKHUWKHKLVWRU\VWDWHVWKDWKH3DVVHGRXWDW
                   ZRUN
                   $FWLRQ
                   127))'
                   :HQHHGDOOUHFRUGVIURPDOOSURYLGHUVZKR
                   KDYHWUHDWHGKLPVLQFHWKLVHSLVRGHVWDUWHG:HDOVRQHHGWKHUHFRUGVIURP
                   ODVW\HDU
VVWURNH
                   +HQHHGVD)XOO1HXURORJ\DQGFDUGLRORJ\HYDOXDWLRQ
                   IRUWKHV\QFRSDOHSLVRGHDWZRUN
                   7K['U&

   &DVH1XPEHU                 6HUYLFH1XPEHU              &DWHJRU\     $FWLYLW\
   &UHDWHGRQ       0DU            7LPH             30           &UHDWHGE\   
                                                                                         DF_001740 [Woodus]
'DWH                                                                                             3DJHRI
                   Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 43 of 84
   &RPPHQW
                   FOLQLFQRWHIURPUHFHLYHGNQK

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       0DU             7LPH               30           &UHDWHGE\   
   &RPPHQW
                   'U+XJKHV

                   7UDFNPDQZKR
VPDQDJHUUHSRUWHGWKDWWKH((KDGVWURNH
                   OLNHV\PSWRPVDWZRUNODVWZHHN+HKDVVXEPLWWHGKLVFOLQLFQRWHIURP
                   WKHFOLQLFYLVLWWKDWGD\+HGHQLHVJRLQJWRWKH(5RUKDYLQJWHVWLQJ
                   GRQHRQO\D&;57KLVFOLQLFQRWHVKRZ&9$((VWDWHVLGLGQ
WKDYHD
                   VWURNHWKLV\HDU,KDGDVWURNHODVW\HDU3OHDVHUHYLHZDQGDGYLVHNQK

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       0DU             7LPH               30           &UHDWHGE\   
   &RPPHQW
                   5REHUWD6-RKQVRQ7UXGLH$7HUUHR<1(=)3DFNHU
                   3DXOD-2VERUQ0LFKHOOH5.HOOH\
                   .ULVWLQ0%UDFNHQ.DWK\/7ULPPHU&DURO6
                   3DWWHUVRQLQIRUPHG0/2$UHFRPPHQGHGUOU

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       0DU             7LPH               30           &UHDWHGE\   
   &RPPHQW
                   /HWWHUPDLOHGDQGHPDLOHGWR((ZLWKZKDWLVQHHGHGIRU57:

                   7&IURP((
                   WKDWKHGLGQRWJRWRWKH(5ZDVQRWKRVSLWDOL]HGDQGGLGQRWKDYHD
                   VWURNH+HZLOOVXEPLWFOLQLFQRWHVDQGWHVWUHVXOWVZLWKKLVIXOOGXW\
                   UHOHDVHNQK

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\    &DVH
   &UHDWHGRQ       0DU             7LPH               $0          &UHDWHGE\   
   &RPPHQW        /2&6,5(675,&7,216
                   5(48,5(657:(;$02))!<5

   &DVH1XPEHU                  6HUYLFH1XPEHU                 &DWHJRU\    $FWLYLW\
   &UHDWHGRQ       0DU             7LPH               $0          &UHDWHGE\   
   &RPPHQW
                   7&IURP-:&URRNWKHWKLV((KDGVWURNHOLNHV\PSWRPVODVWQLJKWDQGZDV
                   WDNHQWRWKH(5+HLVVWLOOLQWKHKRVSLWDO,QIRUPHGWKDW((ZLWK
                   UHTXLUH))'HYDOSULRUWR57:IRU5+&NQK




                                                                                              DF_001741 [Woodus]
'DWH                                                                                                3DJHRI
Case 4:16-cv-00745-BRW Document 23-3 Filed 11/17/17 Page 44 of 84




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                                                                          Charbonneau Aff.

                                                              DF_000330 [Woodus]
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                                                DF_000331 [Woodus]
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                                                DF_000332 [Woodus]
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                                                DF_000333 [Woodus]
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                                                DF_000334 [Woodus]
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                                                DF_000335 [Woodus]
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                                                DF_000336 [Woodus]
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                                                                    Charbonneau Aff.

                                                DF_000297 [Woodus]
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                                                DF_000298 [Woodus]
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                                                DF_000299 [Woodus]
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                                                                    Charbonneau Aff.

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                                                                    G
                                                              Charbonneau Aff.

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                                                                Charbonneau Aff.

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                                                                     I
                                                               Charbonneau Aff.

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                                          BHMC LITTLE ROCK                        WOODUS,JOEY
                                          9601 Baptist Health Drive               MRN: 00835556
                                          Little Rock AR 72205-7299               DOB:          Sex: M
                                          Inpatient Record                        Adm: 4/12/2015, D/C: 4/20/2015

Imaging - All Results (continued)
                                                                                  Resulted: 04/13/15 2223, Result status: In
MRI Brain WO Contrast [148981278] (continued)                                                                      process
                                                                04/13/15 2020

                                                                                  Resulted: 04/13/15 2238, Result status: In
MRI Brain WO Contrast [148981278]                                                                                  process
  Ordering provider: Richard G Pellegrino, MD 04/13/15           Resulted by:      W. B Pierce, MD
                     2016
  Performed:         04/13/15 2020 - 04/13/15 2238               Resulting lab:    BHMC IMAGECAST
  Specimen Information
   Type                       Source                            Collected On
                                                                04/13/15 2020

                                                                    Resulted: 04/14/15 0928, Result status: Final
MRI Brain WO Contrast [148981278]                                                                          result
  Ordering provider: Richard G Pellegrino, MD 04/13/15 Resulted by:    W. B Pierce, MD
                     2016
  Performed:         04/13/15 2020 - 04/13/15 2238     Resulting lab:  BHMC IMAGECAST
  Narrative:
             BAPTIST HEALTH MEDICAL CENTER-LITTLE ROCK

   NAME: JOEY WOODUS           ATT PHY: SAMER NAKKAR
   MRN : 00835556         SEX: M RACE: 2
   CASE: 62025702          DOB:
   ADM DATE: 04-12-2015      DICTATED: 04-14-2015 0609
   DIS DATE:            DICT PHY: W.BRADLEY PIERCE
   TYPE: RADIOLOGICAL EXAMINATION


         BAPTIST HEALTH IMAGING CENTER - LITTLE ROCK (MRI)
   04/13/2015

   MRI scan of brain without contrast material

   History - Slurred speech for 2 days.

   Comparison - CT scan dated 04/12/2015.

   MR technique - Sagittal T1, as well as axial diffusion, T1, T2 and
   FLAIR images of the brain were acquired along with a coronal
   fat-suppressed T1 weighted series.

   Findings - The ventricular system and cortical sulci are normal.
   There are 4 infarcts of relatively acute age with restricted
   diffusion involving left cerebral white matter, the largest in the
   left frontal centrum semiovale. These are watershed type infarcts
   with central white matter location. There is no associated
   hemorrhage. There is no right cerebral infarction. The brainstem
   and cerebellum are normal. There are mild chronic small-vessel
   ischemic changes additionally in the supratentorial white matter with
   a few scattered foci with increased signal intensity on FLAIR and
   T2-weighted images. Intracranial carotids show normal flow void.
                                                                                                                 J
   There is some increased signal intensity in the left vertebral artery                                  Charbonneau Aff.

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                                         BHMC LITTLE ROCK                     WOODUS,JOEY
                                         9601 Baptist Health Drive            MRN: 00835556
                                         Little Rock AR 72205-7299            DOB:          Sex: M
                                         Inpatient Record                     Adm: 4/12/2015, D/C: 4/20/2015

Imaging - All Results (continued)
                                                                          Resulted: 04/14/15 0928, Result status: Final
MRI Brain WO Contrast [148981278] (continued)                                                                    result
  distally on series 7 with diminished flow signal on series 5. These
  findings could be due to a stenosis or turbulent flow. The brainstem
  and the cerebellum are normal. The craniocervical junction is
  normal.

   The pituitary gland is not enlarged. The orbits are normal. A small
   retention cyst is seen in left ethmoid air cells. Otherwise, the
   sinuses are clear. There are no calvarial lesions.

   Impression -

   1. There are 4 relatively acute infarcts with restricted diffusion
      involving white matter in the left cerebral hemisphere. The
      largest is in the left frontal centrum semiovale measuring about
      1.7 cm. These are watershed distribution infarcts. There is no
      associated hemorrhage.

   2. Additionally, there are mild chronic small-vessel ischemic
      changes in the supratentorial white matter.


   3. There is some diminished flow void in the left vertebral artery
      distally, probably due to distal vertebral artery stenosis.



   Location 1 - This report was generated at Baptist Health Medical
   Center/Little Rock.



   This document has passed e.s. verification 4/14/2015 9:24 AM
   W.BRADLEY PIERCE, M.D./pc 2512
   BAPTIST HEALTH IMAGING CENTER - LITTLE ROCK (MRI)
   Accession#: 1100148981278 (Job#: 94548) (Report#: 10390142)
   Specimen Information
    Type                       Source                         Collected On
                                                              04/13/15 2020

                                                                              Resulted: 04/14/15 1156, Result status: In
CT Angiogram Head/Circle of Willis W Contrast [148981283]                                                      process
   Ordering provider: Priyantha N Wijewardane, MD         Resulted by:         Whitney J Goodwin, MD
                      04/14/15 0959
   Performed:         04/14/15 1000 - 04/14/15 1402       Resulting lab:       BHMC IMAGECAST
   Specimen Information
    Type                       Source                   Collected On
                                                        04/14/15 1000

                                                                              Resulted: 04/14/15 1402, Result status: In
CT Angiogram Head/Circle of Willis W Contrast [148981283]                                                      process
   Ordering provider: Priyantha N Wijewardane, MD         Resulted by:         Whitney J Goodwin, MD

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